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                                       #:1218


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9    Attorneys for Plaintiff
     UNITED STATES OF AMERICA
10

11                            UNITED STATES DISTRICT COURT

12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,               No. 2:23-CR-00524(A)-DMG-ALL

14             Plaintiff,                    NOTICE OF FILING OF DEFENDANTS’
                                             SIGNATURE PAGES IN SUPPORT OF
15                  v.                       STIPULATION TO CONTINUE DATE FOR
                                             TRIAL (#337); ATTACHMENTS
16   EDGAR JOEL MARTINEZ-REYES ET
        AL.,
17
               Defendants.
18

19        Plaintiff, United States of America, by and through its attorney
20   of record, Assistant United States Attorney Julie J. Shemitz, and
21   defendants Edgar Martinez-Reyes (#1), by and through his attorney of
22   record, Zaira Villagomez, Eduardo Mayorga (#3), by and through his
23   attorney of record, Matthew Lombard, Guillermo Zambrano (#5), by and
24   through his attorney of record, John Targowski, Vidal Licon-Robles
25   (#8), by and through his attorney of record, Robert Bernstein, Jose
26   Antonio Pardo (#13), by and through his attorney of record, Michael
27   Chernis, Jiande Zhou (#14), by and through his attorney of record,
28   Kevin Gres, Sai Zhang (#16), by and through his attorneys of record,
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1    Reuven Cohen and Youngbin Son, Jiayong Yu (#20), by and through his

2    attorney of record, Jonathon Perliss, and Xuanyi Mu (#23), by and

3    through his attorney of record, Donald Matson hereby file their

4    respective signature pages in support of the stipulation to continue

5    the date for trial filed by the parties in this matter on August 6,

6    2024.      These signature pages are provided in accordance with the

7    provisions of the previously-filed stipulation to continue the date

8    for trial to October 21, 2025 at 8:30 a.m. before this Court (Dkt

9    #337) 1.

10        Defendant Diego Acosta Ovalle (#6) is in custody in Mexico

11   awaiting extradition.

12        Defendant Peiji Tong (#15) is in the custody of Chinese

13   authorities on domestic Chinese charges.

14        Defendant Jiaxuan He (#24) is a fugitive, believed to be

15   residing in China.

16        Defendant Chengwu He (#17) is scheduled to make his initial

17   appearance on August 22, 2024.

18        Defendant Leopoldo Bernal (#9) was released to pretrial

19   supervision for placement in a residential drug treatment facility.

20        Defendant Victor Rodriguez-Trujillo (#11) was released on bond

21   with electronic monitoring, and has since cut of the monitoring

22   device and is now a fugitive whose whereabouts are unknown.

23        Defendant Daniel Gonzalez, aka Rafael Arocho (#10), is a

24   fugitive believed to be in northern California.

25        The remaining defendants, Raul Contreras (#2), Julio Alexandro

26   Cabrera (#12), Panyu Zhao (#18), and Shou Yang (#23), have not

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28        1 The trial date for defendant Luis Belandria-Contreras was
     previously continued to October 21, 2025 (Dkt #331).
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1    objected to the continuance, but have not yet provided their

2    signature pages to the stipulation.

3    Dated: August 13, 2024              Respectfully submitted,

4                                        E. MARTIN ESTRADA
                                         United States Attorney
5
                                         MACK E. JENKINS
6                                        Assistant United States Attorney
                                         Chief, Criminal Division
7

8                                             /s/
                                         JULIE J. SHEMITZ
9                                        Assistant United States Attorney

10                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
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